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                  UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF TEXAS
                       GALVESTON DIVISION

DARON SKURICH,                           §
HERNAN ORELLANA,                         §
BRADY GRUHN, and                         §
BRIAN ECONOMY                            §
    Plaintiffs                           §
                                         §
v.                                       §     Civil Action No.:
                                         §
JOSEPH BIDEN, in his official            §
capacity as President of the             §
United States; SAFER FEDERAL             §
WORKFORCE TASK FORCE;                    §
OFFICE OF PERSONNEL                      §
MANAGEMENT; KIRAN AHUJA,                 §
in her official capacity as OPM          §
Director and as Task Force               §
co-chair and member; GENERAL             §
SERVICES ADMINISTRATION;                 §
ROBIN CARNAHAN, in her                   §
official capacity as GSA                 §
Administrator and Task Force             §
co-chair and member;                     §
JEFFREY ZIENTS, in his official          §
capacity as White House                  §
COVID-19 Response Coordinator            §
and Task Force co-chair and              §
member; L. ERIC PATTERSON,               §
in his official capacity as Director     §
of the Federal Protective Service        §
and as Task Force co-chair and           §
member; JAMES M. MURRAY, in              §
his official capacity as Director of     §
the U.S. Secret Service and as           §
Task Force member; DEANNE                §
CRISWELL, in her official capacity       §
as Director of Federal Emergency         §
Management Agency and as Task            §
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Force member; ROCHELLE                      §
WALENSKY, in her official capacity          §
as CDC Director and Task Force              §
member; FEDERAL ACQUISITION                 §
REGULATORY COUNCIL; OFFICE                  §
OF MANAGEMENT AND BUDGET;                   §
SHALANDA YOUNG, in her official             §
capacity as Acting Director of OMB          §
and Task Force member;                      §
LESLEY A. FIELD, in her official            §
capacity as Acting Administrator            §
for Federal Procurement                     §
of OMB and FAR Council member;              §
JOHN TENAGLIA, in his official              §
capacity as Principal Director of           §
Defense Pricing and Contracting             §
of the DOD and FAR Council                  §
member; JEFFREY A. KOSES,                   §
in his official capacity as Senior          §
Procurement Executive & Deputy              §
Chief Acquisition Officer of the            §
GSA and FAR Council member;                 §
KARLA S. JACKSON, in her official           §
capacity as Assistant Administrator         §
for Procurement of NASA and FAR             §
Council member,                             §
      Defendants.                           §


                 PLAINTIFFS’ ORIGINAL COMPLAINT

      Plaintiffs, Daron Skurich, et al., by and through their attorneys of record,

allege and complain of the following:




                              INTRODUCTION


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1.    Plaintiffs are ordinary citizens who are subject to the unprecedented and

unlawful federal contractor COVID-19 vaccine mandate (the “Contractor

Mandate”) issued by the federal government, requiring them to get the shot or

lose their jobs. 1 Plaintiffs are the workers who helped this country through the

COVID-19 pandemic. And now they are the victims of President Biden’s threat

that his patience was “wearing thin” on those who refuse an experimental

vaccine. 2

2.    The Contractor Mandate is part of a larger and wholly unlawful effort by

the Biden Administration to compel COVID-19 vaccinations for millions of

Americans, including Plaintiffs. The Occupational Health and Safety

Administration’s (“OSHA”) COVID-19 Emergency Temporary Standard

(“ETS”), issued November 5, 2021, would subject over 84 million Americans to

COVID-19 vaccine mandates. 86 Fed. Reg. 61,402, 61,467 (Nov. 5, 2021). It was

stayed pending judicial review by the Fifth Circuit. See BST Holdings, LLC v.




1 See Executive Order 14042, Ensuring Adequate COVID Safety Protocols for
Federal Contractors, 86 Fed. Reg. 50,985 (Sept. 9, 2021) (“Executive Order
14042”).
2 White House, Remarks by President Biden on Fighting the COVID-19
Pandemic (Sept. 9, 2021) (“Biden Mandate Remarks”), available at:
https://www.whitehouse.gov/briefing-room/speeches-
remarks/2021/09/09/remarks-by-president-biden-on-fighting-the-covid-19-
pandemic-3/ (last visited Jan. 6, 2022).

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OSHA, 17 F.4th 604 (5th Cir. 2021) (“BST”), and it is currently set for oral

argument before the Supreme Court on January 7, 2022.

3.    The Centers for Medicare and Medicaid Services (“CMS”) Mandate,

which requires COVID-19 vaccination of over 10 million American workers,

has also been stayed. On November 30, 2021, a federal court in the Western

District of Louisiana issued a nationwide stay, enjoining and restraining the

implementation and execution of the CMS Mandate. Louisiana v. Becerra, ---

F.Supp.3d ---, 2021 WL 5609846 (W.D. La. Nov. 30, 2021) (“Louisiana I”),

modified 20 F.4th 260 (5th Cir. Dec. 15, 2021) (“Louisiana II”) (limiting stay to

the 14 plaintiff states).

4.    The Contractor Mandate now faces the same skepticism by the courts.

On November 30, 2021, a district court in the Eastern District of Kentucky

enjoined the government from enforcing the Contractor Mandate in the states

of Kentucky, Ohio, and Tennessee. Kentucky v. Biden, No. 3:21-cv-00055, 2021

WL 5587446 (E.D. Ky. Nov. 30, 2021) (“Kentucky I”), aff’d No. 21-6147, 2022

WL 43178 (6th Cir. Jan. 5, 2021) (“Kentucky II”).

5.    And on December 7, 2021, a federal court in the Southern District of

Georgia enjoined the government from “from enforcing the vaccine mandate

for federal contractors and subcontractors in all covered contracts in any state

or territory of the United States of America.” Georgia, v. Biden, No. 1:21-cv-

00163, 2021 WL 5779939 (S.D. Ga. Dec. 7, 2021) (“Georgia”).

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6.    Despite the Contractor Mandate being enjoined for the time being,

Plaintiffs face the threat of being terminated for standing up to an unlawful

order by the federal government and exercising their natural and

Constitutional rights to refuse unwanted, unnecessary and unproven medical

treatment. Plaintiffs therefore seek the relief requested herein.



                        JURISDICTION AND VENUE

7.    This Court has federal subject matter jurisdiction under 28 U.S.C.

§§ 1331, 1346, 1361; 42 U.S.C. § 1983; and 5 U.S.C. §§ 702-703. The relief

sought in this action is authorized by and through the U.S. Constitution; this

Court’s equitable powers; 28 U.S.C. §§ 2201 and 2202; 5 U.S.C. § 705; and

Federal Rules of Civil Procedure 57 and 65.

8.    Venue is proper in this District under 28 U.S.C. § 1391 and 28 U.S.C.

§ 1402 because it is the judicial district in which a substantial part of the

events giving rise to the claim occurred, and because it is the district in which

certain Plaintiffs reside.

                                  PARTIES

A. Plaintiffs

9.    Plaintiff Daron Skurich is domiciled in Wharton County, Texas. He is

employed as a pilot for Southwest Airlines, a federal contractor that is



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“required by law” to follow the Contractor Mandate. 3 Southwest has

announced that its “contracts with the U.S. government require full

compliance with the federal vaccination directive.” 4 Mr. Skurich has not

received a COVID-19 vaccine, has not been granted an exemption, and faces

imminent termination if he does not comply with the Contractor Mandate.

10.    Plaintiff Hernan Orellana is domiciled in Schertz, Texas. He is employed

as a pilot for JetBlue Airways. He is subject to the Contractor Mandate through

his employer, which has announced that its workers must be fully vaccinated

against COVID-19 due to the Contractor Mandate. 5 Mr. Orellana has not

received a COVID-19 vaccine, has not been granted an exemption, and faces

imminent termination if he does not comply with the Contractor Mandate.

11.    Plaintiff Brady Gruhn is domiciled in Tampa, Florida. He is employed by

Science Applications International Corporation (“SAIC”), a federal contractor



3See Southwest Airlines Pilots Assoc. v. Southwest Airlines Co., 3:21-cv-02065
(N.D. Tex. Oct. 26, 2021).
4Southwest Airlines, Southwest Airlines Complying with Directive for Federal
Contractors by Requiring All Employees to Become Fully Vaccinated Against
COVID-19 (Oct. 4, 2021), available at: www.swamedia.com/releases/release-
66d1c9ae7fd4aa2df09a33d586c3b894-southwest-airlines-complying-with-
directive-for-federal-contractors-by-requiring-all-employees-to-become-fully-
vaccinated-against-covid-19 (last visited Jan. 6, 2022).
5See Mary Schlangenstein, JetBlue Says Workers Must Get Covid Shots Under
Federal       Mandate,        BLOOMBERG           (Oct.        1,   2021),
www.bloomberg.com/news/articles/2021-10-01/jetblue-says-workers-must-get-
covid-shots-under-federal-mandate (last visited Jan. 6, 2022).

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that is subject to the Contractor Mandate. Mr. Gruhn has not received a

COVID-19 vaccine, has not been granted an exemption, and faces imminent

termination if he does not comply with the Contractor Mandate.

12.    Plaintiff Brian Economy is domiciled in Chesapeake, Virginia. He is

employed by Atlantic Diving Supply d/b/a ADS, Inc., a federal contractor that

is subject to the Contractor Mandate. Mr. Economy has not received a COVID-

19 vaccine, has not been granted an exemption, and faces imminent

termination if he does not comply with the Contractor Mandate.

B. Defendants

13.    Defendant Joseph Biden, the President of the United States, is sued in

his official capacity. President Biden issued Executive Order 14042.

14.    Defendant Safer Federal Workforce Task Force (also referred to as the

“Task Force”) was created by Executive Order 13991, Protecting the Federal

Workforce and Requiring Mask-Wearing, 86 Fed. Reg. 7,045 (Jan. 25, 2021)

(“Executive Order 13991”), which was signed by President Biden the day he

was inaugurated on January 20, 2021. The Task Force was established to

generally “provide ongoing guidance” to the Federal Government and its

employees during the COVID-19 pandemic. Executive Order 13991, 86 Fed.

Reg. at 7046.




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15.    Defendant Office of Personnel Management (“OPM”) is an agency of the

United States government which “serves as the chief human resources agency

and personnel policy manager for the Federal Government.” 6

16.    Defendant Kiran Ahuja is the OPM Director. She is a co-chair and

member of the Task Force. She is sued in her official capacity.

17.    Defendant General Services Administration (“GSA) is an agency of the

United States government which “provides workplaces by constructing,

managing, and preserving government buildings and by leasing and managing

commercial real estate.” 7

18.    Defendant Robin Carnahan is the GSA Administrator. She is sued in her

official capacity. She is a co-chair and member of the Task Force.

19.    Defendant Jeffrey Zients, the White House COVID-19 Response

Coordinator, is sued in his official capacity. He is a co-chair and member of the

Task Force.

20.    Defendant L. Eric Patterson, the Director of the Federal Protective

Service, is sued in his official capacity. He is a member of the Task Force.




6  Office of Personnel Management, Our Agency,                    available    at:
https://www.opm.gov/about-us/ (last visited Jan. 6, 2022).
7   General    Services   Administration,      About      Us,     available    at:
https://www.gsa.gov/about-us (last visited Jan. 6, 2022).

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21.    Defendant James M. Murray, Director of the U.S. Secret Service and

member of the Task Force, is sued in his official capacity.

22.    Defendant Deanne Criswell is the Director of the Federal Emergency

Management Agency and is a member of Task Force. She is sued in her official

capacity.

23.    Defendant Rochelle Walensky, the Director of the Centers for Disease

Control and Prevention (“CDC”), is sued in her official capacity. She is a

member of Task Force.

24.    Defendant Federal Acquisition Regulatory Council (“FAR Council”)

issues and maintains a “Government-wide procurement regulation.” 41 U.S.

Code § 1303(a).

25.    Defendant Office of Management and Budget (“OMB”) is an agency of

the United States government, which “oversees the implementation of the

President’s vision across the Executive Branch.” 8

26.    Defendant Shalanda Young, Acting Director of OMB and member of the

Task Force, is sued in her official capacity.

27.    Defendant   Lesley    A.   Field,       Acting   Administrator    for   Federal

Procurement of OMB and member of the FAR Council, is sued in her official

capacity.


8  White House, Office of Management and Budget,                        available   at:
https://www.whitehouse.gov/omb/ (last visited Jan. 6, 2022).

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28.    Defendant John M. Tenaglia, Principal Director of Defense Pricing and

Contracting of the Department of Defense, and member of the FAR Council, is

sued in his official capacity.

29.    Jeffrey A. Koses, Senior Procurement Executive & Deputy Chief

Acquisition Officer of the GSA and member of the FAR Council, is sued in his

official capacity.

30.    Karla S. Jackson, the Assistant Administrator for Procurement of the

National Aeronautics and Space Administration (“NASA”) and a member of

FAR Council, is sued in her official capacity.

                     LEGAL AND FACTUAL BACKGROUND

A. The Biden Administration’s Vaccine Mandates

31.    At a September 9, 2021 press conference, President Biden announced his

intent to use the full force of the federal government to mandate COVID-19

vaccines for millions of Americans. He proclaimed his disdain for those

Americans – like Plaintiffs – who exercised their natural and Constitutionally-

protected rights to medical autonomy and bodily integrity, stating “our

patience is wearing thin. And your refusal [to be vaccinated] has cost all of us.”

Biden Mandate Remarks, supra note 2.

32.    Dissatisfied with the personal medical decisions of millions of

Americans, President Biden started with the unlawful edicts:



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       I will sign an executive order that will now require all executive
       branch federal employees to be vaccinated — all. And I’ve signed
       another executive order that will require federal contractors to do
       the same.

Id. He declared that vaccines would be required “to do business with the federal

government.” Id. And for those state governors who chose to oppose his federal

power grab, President Biden promised “I’ll use my power as President to get

them out of the way.” Id.

33.    The Biden Administration then “pored over the U.S. Code in search of

authority, or a ‘work-around,’ for imposing a national vaccine mandate.” BST,

17 F.4th at 612. It found its “work-around” in the OSHA Mandate, the CMS

Mandate, and the Federal Contractor Mandate. The OSHA Mandate, issued

on November 5, 2021 through a rarely-used emergency temporary standard

(ETS), would require approximately 264,000 entities to implement COVID-19

vaccination polices to approximately 84.2 million workers. 86 Fed. Reg. at

61,475.

34.    The OSHA Mandate was immediately challenged in courts across the

country. “Within 10 days, 34 lawsuits were filed, covering all 12 regional circuit

courts.” 9 On November 12, 2021, the Fifth Circuit issued a stay pending review



9Andrea Hsu, 6th Circuit Court ‘wins’ lottery to hear lawsuits against Biden’s
vaccine    rule,     NPR        (Nov.      16,     2021),    available     at:
https://www.npr.org/2021/11/16/1056121842/biden-lawsuit-osha-vaccine-
mandate-court-lottery (last visited Jan. 6, 2022).

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of the OSHA Mandate, ordering that “OSHA take no steps to implement or

enforce the Mandate until further court order.” BST, 17 F.4th at 619. The

challenges to the OSHA Mandate were consolidated to the Sixth Circuit, which

recently rejected the Biden Administration’s request to expedite the “briefing

schedule on its motion to dissolve the Fifth Circuit’s stay.” 10 The OSHA

Mandate is currently set for oral argument before the Supreme Court on

January 7, 2022.

35.    The Biden Administration also issued the CMS Mandate on November

5, 2021. It required “the staff of twenty-one types of Medicare and Medicaid

healthcare providers to receive one vaccine by December 6, 2021, and to receive

the second vaccine by January 4, 2022.” Louisiana I, 2021 WL 5609846, at *1.

It covered “over 10.3 million health care workers in the United States.” Id. On

November 29, 2021, the District Court for the Eastern District of Missouri

enjoined the federal government from implementing or enforcing the CMS

Mandate in ten states. See Missouri v. Biden, --- F.Supp.3d ---, 2021 WL

5564501 (E.D. Mo. Nov. 29, 2021) (“Missouri”).

36.    The next day, on November 30, 2021, a District Court for the Western

District of Louisiana issued a nationwide injunction, with the exception of the


10 Robert Iafolla, Biden Shot-or-Test Litigation Denied Fast-Track Schedule,
BLOOMBERG          LAW        (Dec.      3,       2021),       available  at:
https://news.bloomberglaw.com/daily-labor-report/biden-shot-or-test-rule-
litigation-denied-fast-track-schedule (last visited Jan. 6, 2022).

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ten states covered by the injunction ordered by the court in Missouri. See

Louisiana I. That court held that the government did “not have the authority

to implement the CMS Mandate.” Id., 2021 WL 5609846, at *1. The Fifth

Circuit recently limited that nationwide stay to the 14 plaintiff states, with the

court noting it “cannot say that the Secretary has made a strong showing of

likely success on the merits.” Louisiana II, 20 F.4th at 460. On January 7, 2022,

the Supreme Court will hear appeals relating to the OSHA Mandate and the

CMS Mandate.

37.    Courts have also considered challenges to the federal Head Start

program’s vaccine mandate (“Head Start Mandate”) in which the Department

of Health and Human services requires Head Start staff and contractors “to be

vaccinated and near-universal masking of children and adults.” Texas v.

Becerra, 5:21-cv-300, 2021 WL 6198109, at *1 (N.D. Tex. Dec. 31, 2021). On

December 31, 2021, a court in the Northern District of Texas enjoined the Head

Start Mandate in the State of Texas pending a trial on the merits. Id. On

January 1, 2022, a federal court in the Western District of Louisiana enjoined

the implementation of the Head Start Mandate for 24 more states. See

Louisiana v. Becerra, --- F.Supp.3d ---, 2022 WL 16571 (W.D. La. Jan. 1, 2022).

38.    The Contractor Mandate has faced the same type of scrutiny and has not

fared any better. On November 30, 2021, a district court in the Eastern District

of Kentucky granted a request for preliminary injunction, enjoining the

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government “from enforcing the vaccine mandate for federal contractors and

subcontractors in all covered contracts in Kentucky, Ohio, and Tennessee.”

Kentucky I, 2021 WL 5587446, at *14. That court asked an important question:

“Can the president use congressionally delegated authority to manage the

federal procurement of goods and services to impose vaccines on the employees

of federal contractors and subcontractors?” Id., 2021 WL 5587446, at *1. The

answer was “no.” Id.

39.    One week later, a district court in Georgia issued a nationwide

injunction, stating those plaintiffs “have a likelihood of proving that Congress,

through the language it used, did not clearly authorized the President to issue”

the Contractor Mandate. Georgia, 2021 WL 5779939, at *9. On December 20,

2021, a federal court in Missouri enjoined the enforcement of the Contractor

Mandate “for federal contractors and subcontractors in all covered contracts in

Missouri, Nebraska, Alaska, Arkansas, Iowa, Montana, New Hampshire,

North Dakota, South Dakota, and Wyoming.” Missouri v. Biden, No. 4:21-cv-

1300, 2021 WL 5998204, at *8 (E.D. Mo. Dec. 20, 2021). Soon thereafter, a

district court in Florida held that the state of “Florida demonstrates a

substantial likelihood that Executive Order 14042 exceeds the President’s

authority under” the Federal Property and Administrative Services Act.

Florida v. Nelson, --- F.Supp.3d ---, 2021 WL 6108948, at *16 (M.D. Fla. Dec.

22, 2021).

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B. The Contractor Mandate – Background

       1. Executive Order 14042

40.    As part of the “work-around,” on November 9, 2021, President Biden

signed Executive Order 14042. It expressly relied on the Federal Property and

Administrative Services Act (“FPASA”), 40 U.S.C 40 U.S.C. § 101 et seq., and

the supposed authority it vested to President Biden. 86 Fed. Reg. at 50,985.

41.    The alleged purpose of Executive Order 14042 is to promote “economy

and efficiency in procurement by contracting with sources that provide

adequate COVID-19 safeguards for their workforce.” Id. It orders “[e]xecutive

departments and agencies” to “include a clause that the contractor and any

subcontractors (at any tier) shall incorporate into lower-tier subcontracts” by

October 8, 2021, if practicable. Id. at 50,985-50,986. It further states:

       This clause shall specify that the contractor or subcontractor shall,
       for the duration of the contract, comply with all guidance for
       contractor or subcontractor workplace locations published by the
       Safer Federal Workforce Task Force (Task Force Guidance or
       Guidance), provided that the Director of the Office of Management
       and Budget (Director) approves the Task Force Guidance and
       determines that the Guidance, if adhered to by contractors or
       subcontractors, will promote economy and efficiency in Federal
       contracting. Id. at 50,985.

42.    Executive Order 14042 applies “to any new contract; new contract-like

instrument; new solicitation for a contract or contract-like instrument;

extension or renewal of an existing contract or contract-like instrument; and



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exercise of an option on an existing contract or contract-like instrument” if they

meet certain requirements. Id. at 50,986.

       2. Task Force Guidance

43.    The Task Force, which set forth some terms of the Contractor Mandate,

was established by President Biden through Executive Order 13991, which he

signed on the day of his inauguration.

44.    The mission of the Task Force was to “provide ongoing guidance to heads

of agencies on the operation of the Federal Government, the safety of its

employees, and the continuity of Government functions during the COVID-19

pandemic.” Executive Order 13991, 86 Fed. Reg.at 7,046. The Task Force’s

guidance is to be “based on public health best practices as determined by CDC

and other public health experts” on topics such as testing, contract tracing,

physical distancing, equipment, teleworking, and vaccine administration “as

they relate to the Federal workforce.” Id.

45.    On September 24, 2021, in response to Executive Order 14042, the Task

Force issued its “COVID-19 Workplace Safety: Guidance for Federal

Contractors and Subcontractors” (“Guidance”). 11 It states that “[f]ederal


11 See Safer Federal Workforce Task Force, COVID-19 Workplace Safety:
Guidance for Federal Contractors and Subcontractors (updated November 10,
2021)         (“Task         Force     Guidance”),      available     at:
https://www.saferfederalworkforce.gov/downloads/Guidance%20for%20Feder
al%20Contractors_Safer%20Federal%20Workforce%20Task%20Force_202111
10.pdf (last visited Jan. 6, 2021).

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contractors and subcontractors with a covered contract will be required to”

ensure the “COVID-19 vaccination of covered contractor employees, except in

limited circumstances where an employee is legally entitled to an

accommodation.” Id. “Covered contractor employees must be fully vaccinated

no later than January 18, 2022.” Id.

46.    The Task Force Guidance noted Executive Order 14042:

       [S]ets out a process for the Federal Acquisition Regulatory Council
       (“FAR Council”) to implement such protocols and guidance for
       covered Federal procurement solicitations and contracts subject to
       the Federal Acquisition Regulation (“FAR”) and for agencies that
       are responsible for covered contracts and contract-like
       instruments not subject to the FAR to take prompt action to ensure
       that those covered contracts and contract-like instruments include
       the clause, consistent with the order. Id.

47.    The Task Force declared that the “[c]overed contractors shall adhere to

the requirements of this Guidance.” Id. It also stated the Director of OMB

“under the Federal Property and Administrative Services Act determined that

this Guidance will promote economy and efficiency in Federal contracting if

adhered to by Government contractors and subcontractors.” Id.

       3. OMB Determination

48.    On that same day – September 24, 2021 – Defendant OMB Acting

Director Shalanda Young issued the agency’s short “Determination of the

Promotion of Economy and Efficiency in Federal Contracting Pursuant to




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Executive Order No. 14042.” 86 Fed. Reg. 53,691-01 (Sept. 28, 2021) (“OMB

Determination”). There, the OMB Acting Director stated:

       I have determined that compliance by Federal contractors and
       subcontractors with the COVID-19 workplace safety protocols
       detailed in that [Task Force] guidance will improve economy and
       efficiency by reducing absenteeism and decreasing labor costs for
       contractors and subcontractors working on or in connection with a
       Federal Government contract. Id., 86 Fed. Reg. at 53,692.

49.    The OMB Determination was later updated and published on November

16, 2021. 12 It stated that employees of “Federal contractors and subcontractors

with a covered contract” will be required to receive COVID-19 vaccination

“except in limited circumstances where an employee is legally entitled to an

accommodation.” Revised OMB Determination, 86 Fed. Reg. at 63,418. It kept

the Task Force vaccine timeline, stating employees of covered contractors

“must be fully vaccinated no later than January 18, 2022.” Id.

       4. FAR Council Memorandum

50.    On September 30, 2021, the FAR Council issued a memorandum

concerning the “Issuance of Agency Deviations to Implement Executive Order

14042.” 13 This memorandum was signed by Defendants Lesley A. Field, OMB,




12 See OMB, Notice of Determination, Determination of the Acting OMB
Director Regarding the Revised Safer Federal Workforce Task Force Guidance
for Federal Contractors and the Revised Economy & Efficiency Analysis, 86
Fed. Reg. 63,418-01 (Nov. 16, 2021) (“Revised OMB Determination”).
13 White House, FAR Council Guidance (Sept. 30, 2021), available at:

https://www.whitehouse.gov/wp-content/uploads/2021/09/FAR-Council-
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Acting Administrator for Federal Procurement Policy; John M. Tenaglia,

Principal Director, Defense Pricing and Contracting, Department of Defense;

Jeffrey A. Koses, GSA, Senior Procurement Executive & Deputy Chief

Acquisition Officer, Office of Acquisition Policy; and Karla S. Jackson, Senior

Procurement Executive, NASA, Assistant Administrator for Procurement. Id.

51.    To implement Executive Order 14042, the FAR Council developed a

“clause pursuant to section 3(a) of the order to support agencies in meeting the

applicability requirements and deadlines set forth in the order” (the “FAR

Deviation Clause”). Id.

52.    The FAR deviation clause provided the language used to mandate

compliance with the Task Force Guidance and the Contractor Mandate:

       (c) Compliance. The Contractor shall comply with all guidance,
       including guidance conveyed through Frequently Asked
       Questions, as amended during the performance of this contract, for
       contractor or subcontractor workplace locations published by the
       Safer Federal Workforce Task Force (Task Force Guidance) at
       https:/www.saferfederalworkforce.gov/contractors/.

       (d) Subcontracts. The Contractor shall include the substance of
       this clause, including this paragraph (d), in subcontracts at any
       tier that exceed the simplified acquisition threshold, as defined in
       Federal Acquisition Regulation 2.101 on the date of subcontract
       award, and are for services, including construction, performed in
       whole or in part within the United States or its outlying areas. Id.




Guidance-on-Agency-Issuance-of-Deviations-to-Implement-EO-14042.pdf (last
visited Jan. 6, 2022).

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53.    The FAR Council provided that agencies should act to issue their

deviations “expeditiously,” reviewing and updating “any relevant guidance

previously provided to contractors to ensure consistency with the deviated FAR

text.” Id. “Agencies are encouraged to make their deviations effective until the

FAR is amended or the deviation is otherwise rescinded by the agency.” Id.

Moreover, “agencies are required to include an implementing clause in

solicitations and contracts for services” for new contracts awarded on or after

November 14, 2021; for new solicitations issued on or after October 15, 2021;

for extensions or renewals of contracts awarded on or after October 15, 2021;

and for options on existing contracts exercised on or after October 15, 2021. Id.

54.    A deviation in this context means a contract clause that is “inconsistent

with the FAR.” FAR § 1.401. The deviation at issue in the present matter is

inappropriate: “[w]hen an agency knows that it will require a class deviation

on a permanent basis, it should propose a FAR revision, if appropriate.” FAR

§ 1.404.

C. The Scope of the Contractor Mandate

55.    The Contractor Mandate applies to the “covered contractor employee” of

a “covered contractor.” See Task Force Guidance, supra note 11. A “covered

contractor” is defined as “a prime contractor or subcontractor at any tier who

is party to a covered contract.” Id. A “covered contractor employee” means “any

full-time or part-time employee of a covered contractor working on or in

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connection with a covered contract or working at a covered contractor

workplace. This includes employees of covered contractors who are not

themselves working on or in connection with a covered contract.” Id.

56.    The scope of the Contractor Mandate is breathtaking – estimated to

cover “in the upper tens of millions” of employees. 14 Per Task Force guidance,

it would cover Americans who are in no way involved in working on a

government contract, as long as their employer is a federal contractor or a

subcontractor to a federal contractor. See Task Force Guidance, supra note 11.

57.    The burden of complying with the Contractor Mandate ultimately falls

on individuals like Plaintiffs, those who make ends meet and support their

families by working for companies that have either contractor or subcontractor

relationships with the U.S. government. For example, Plaintiff Daron Skurich

works for Southwest Airlines and faces a company vaccination policy that “was

adopted to comply with Executive Order 14042.” 15 Southwest has determined

its “contracts with the U.S. government require full compliance with the




14David Shepardson and Tom Hals, White House says Millions of government
contractors must be vaccinated by Dec. 8, REUTERS (Sept. 27, 2021), available
at: https://www.reuters.com/world/us/exclusive-white-house-wants-millions-
government-contractors-vaccinated-by-dec-8-2021-09-24/ (last visited Jan. 6,
2022). See also Kentucky II, 2022 WL 43178, at *1 (the contractor mandate
“sweeps in at least one-fifth of our nation’s workforce, possibly more.”).
15See generally Southwest Airlines Pilots Assoc. v. Southwest Airlines Co., 3:21-
cv-02065 (N.D. Tex. Oct. 26, 2021)

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federal vaccination directive.” 16 Likewise, JetBlue Airways states that because

of the “[f]ederal mandate, all new hires must be fully vaccinated for COVID-19

prior to the start of training.” 17

58.    Defendants have left Plaintiffs with the illusion of “choice” that is in fact

coercion: vaccination or termination. Yet it’s worse than that, as the Contractor

Mandate forces the administration of experimental and unapproved vaccines.

59.    The only COVID-19 vaccines available to the American public – produced

by Pfizer-BioNTech, Moderna, and Johnson & Johnson – are not approved by

the Food and Drug Administration (“FDA”); instead, they are subject to an

Emergency Use Authorization (“EUA”). The EUAs for these vaccines were

issued after limited testing. In the case of the Pfizer-BioNTech vaccine, for

example, the EUA was granted based on an “entire enrolled study population

[that] had a median follow-up of less than 2 months.” 18 While a variation of the



16 Southwest Airlines, Media Release, Southwest Airlines Complying with
Directive for Federal Contractors by Requiring All Employees to Become Fully
Vaccinated      Against   COVID-19     (Oct.   4,    2021),   available   at:
www.swamedia.com/releases/release-66d1c9ae7fd4aa2df09a33d586c3b894-
southwest-airlines-complying-with-directive-for-federal-contractors-by-
requiring-all-employees-to-become-fully-vaccinated-against-covid-19     (last
visited Jan. 6, 2022).
17JetBlue Airways, Safety from the Ground                     Up,   available    at:
www.jetblue.com/safety (last visited Jan. 6, 2022).
18 FDA, Emergency Use Authorization for an Unapproved Product: Review
Memorandum           (Nov.      20,       2020),         available     at:
https://www.fda.gov/media/144416/download (last visited Jan. 6, 2022).

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Pfizer-BioNTech EUA vaccine (marketed under the name Comirnaty) was

approved by the FDA in August 2021, it is not available to the American public.

According to the CDC, “COMIRNATY products are not orderable at this

time.” 19 The CDC further represents that Comirnaty will not be available

“while EUA authorized product is still available and being made available for

U.S. distribution.” Id. In a January 3, 2022 letter to Pfizer, in which the FDA

reissued the EUA of the Pfizer-BioNTech COVID-19 vaccine, the FDA

observed:

       Although COMIRNATY (COVID-19 Vaccine, mRNA) is approved
       to prevent COVID-19 in individuals 16 years of age and older,
       there is not sufficient approved vaccine available for distribution
       to this population in its entirety at the time of reissuance of this
       EUA. 20

          COUNT 1: PRESIDENT BIDEN’S ULTRA VIRES ACTION

60.    Plaintiffs incorporate the above paragraphs as though fully set forth

herein.

61.    Through the FPASA, Congress authorized the President to “prescribe

policies and directives that the President considers necessary” to “provide the

Federal Government with an economical and efficient system,” which includes



19      CDC,       COVID-19       Vaccine     Codes,      available     at:
https://www.cdc.gov/vaccines/programs/iis/COVID-19-related-codes.html (last
visited Jan. 4, 2022).
20FDA, Pfizer-BioNTech EUA Letter at 10 n.19, (Jan. 3, 2021), available at:
https://www.fda.gov/media/150386/download (last visited Jan. 6, 2022).

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the procurement of property, services, and related functions. 40 U.S.C.

§§ 121(a), 101. These “policies and directives” concern the establishment of a

government procurement policy. See Am. Fed’n of Labor and Congress of Indus.

Orgs. v. Kahn, 618 F.2d 784, 799 (D.C. Cir. 1979) (“Kahn”). The FPASA “was

designed to centralize Government property management and to introduce into

the public procurement process the same flexibility that characterizes such

transactions in the private sector.” Kahn, 618 F.2d at 787-88.

62.    President Biden exceeded the authority granted to him by Congress

through the FPASA when he issued Executive Order 14042. Executive Order

14042 – which spawned the Task Force Guidance, the Revised OMB

Determination, and the FAR Council Guidance – fails to establish a nexus

between the Contractor Mandate and the establishment of a federal

contracting procurement system.

63.    When it comes to major decisions like these, the Supreme Court expects

Congress to speak clearly when delegating “powers of vast economic and

political significance.” Alabama Assn. of Realtors v. Department of Health and

Human Services, 141 S. Ct. 2485, 2489, 210 L.Ed.2d 856 (Aug. 26, 2021) (per

curiam) (internal citation and quotation marks omitted). Precedent requires

“Congress to enact exceedingly clear language if it wishes to significantly alter

the balance between federal and state power.” United States Forest Service v.

Cowpasture River Preservation Assn., 140 S.Ct. 1837, 1850 (2020).

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64.    Plaintiffs are subject to this unlawful Executive Order and the resulting

Task Force Guidance, the Revised OMB Determination, and the FAR Council

Guidance. Defendants’ acts, while currently enjoined by a federal court in

another district, will force Plaintiffs to receive unapproved and experimental

vaccinations or lose their jobs if not declared unlawful.

COUNT 2: THE OMB DETERMINATION IS CONTRARY TO LAW AND
                IN EXCESS OF AUTHORITY

65.    Plaintiffs incorporate the above paragraphs as though fully set forth

herein.

66.    The Administrative Procedure Act requires a court to “hold unlawful and

set aside agency action” that is “not in accordance with law,” contrary to a

person’s constitutional rights, “or in excess of statutory jurisdiction [or]

authority.” 5 U.S.C. § 706(2)(A)-(C).

67.    The OMB Determination is unlawful because it violates 41 U.S.C.

§ 1303(a)(1), which provides that only the FAR Council can issue and maintain

a “government-wide procurement regulation.” 41 U.S.C. § 1303(a)(1).

68.    The OMB Determination is also unlawful because it effectuates a

Presidential order which the President has no authority to issue. As explained

in Count 1, and incorporating those allegations here, Congress did not grant

President Biden the power to mandate vaccinations of nearly all employees of

federal contractors and subcontractors. The Revised OMB Determination,


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which issues a nationwide COVID-19 vaccine mandate for millions of

American workers, exceeds the President’s authority and OMB authority.

 COUNT 3: THE FAR COUNCIL GUIDANCE IS CONTRARY TO LAW
               AND IN EXCESS OF AUTHORITY

69.    Plaintiffs incorporate the above paragraphs as though fully set forth

herein.

70.    The Administrative Procedure Act requires a court to “hold unlawful and

set aside agency action” that is “not in accordance with law,” contrary to a

person’s constitutional rights, “or in excess of statutory jurisdiction [or]

authority.” 5 U.S.C. § 706(2)(A)-(C).

71.    The FAR Council “guidance” is a reviewable substantive rule, as it

requires millions of employees of federal contractors and subcontractors to

receive COVID-19 vaccines. “A substantive rule constitutes a binding final

agency action and is reviewable.” Cohen v. United States, 578 F.3d 1, 6 (D.C.

Cir. 2009) (citing 5 U.S.C. § 704), vacated in part on other grounds, 650 F.3d

717 (D.C. Cir. 2011) (en banc). Moreover, “the mandatory language of a

document alone can be sufficient to render it binding.” Texas v. EEOC, 933

F.3d 433, 442 (5th Cir. 2019) (citing Gen. Elec. Co. v. EPA, 290 F.3d 377, 383

(D.C. Cir. 2002)).

72.    The FAR Council does not have the authority to issue the guidance at

issue in this matter. The FAR Council was created to “assist in the direction


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and coordination of Government-wide procurement policy and Government-

wide procurement regulatory activities in the Federal Government.” 14 U.S.C.

§ 1302.

   COUNT 4: VIOLATION OF FIFTH AMENDMENT DUE PROCESS
                                CLAUSE
73. Plaintiffs incorporate the above paragraphs as though fully set forth

herein.

74.    The Contractor Mandate is unlawful for the reasons stated above.

75.    The Fifth Amendment of the U.S. Constitution states that no person

shall be “deprived of life, liberty, or property, without due process of law.” U.S.

CONST. AMEND. V.

76.    Plaintiffs have liberty interests in freely choosing their own medical

decisions and in not being subjected to unlawful governmental regulations. See

Sell v. United States, 539 U.S. 166, 178 (2003) (discussing that an individual

has a significant constitutionally protected liberty interest in not being

subjected to unwanted medications) (citations omitted).

77.    The Contractor Mandate, which makes Plaintiffs choose between their

jobs and a jab, substantially threatens and will ultimately violate Plaintiffs’

liberty interests without due process of law, in violation of the guarantees

enshrined in the Fifth Amendment. See BST, 17 F.4th at 618 (stating the

OSHA “Mandate threatens to substantially burden the liberty interests of



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reluctant individual recipients put to a choice between their job(s) and their

jab(s)”).

                            PRAYER FOR RELIEF

       For the reasons stated herein, Plaintiffs respectfully request this Court:

       A.    Issue a declaratory judgment that the Contractor Mandate is

             unlawful and therefore unenforceable;

       B.    Hold unlawful and set aside Executive Order 14042, the OMB

             Determination, and the FAR Guidance; and

       C.    Award any other relief this Court may deem just and proper,

             including but not limited to an award of Plaintiffs’ costs and

             attorneys’ fees, and any other relief this Court may find

             appropriate.



                                            Respectfully submitted,

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